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Case number: 2:19-CU-13588 \\

Grayson-Bey
Vs
Officer Fox
Officer Moore
Southfield Police Department

Michael Wojciechowski

Attached Documents provided
1)Initial Disclosure
2)Witness list Sheet

3)Southfield Police Department case report (arrest
report) Information

Date: 04/20/2020
Plaintiff Signature: FA rcporn “7324

Witnesses Signatures: Nroo} Ve

Meda Hragoen-[tall
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Witness List
1)Assiyah Fateen
18992 Westbrook ST, Detroit,48219
313-694-3129, Unemployed
Witness is The Owner of the Car Dodge Magnum

2)Mary Ann Grayson-Hall

17690 Annchester RD, Detroit, Mj,48219
313-520-0410, Retired

Expert for Grandson (Ameer Grayson) well being
Expert for Son (Grayson-Bey)

Expert for Grandson and son well being

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CH No: 190040970

QUA OA

~ SOUTHFIELD PD

___Case Report.

26000 EVERGREEN
SOUTHFIELD MI 48037
248.796.5500

ee ative Details:
CR No Subject .
190040970 4899 - Obstruct Police (Other) [48000]
Report Date/Time Occurrence Date/Time
40/10/2019 16:23 10/10/2019 16:23
jLocation Call Source
HESSELL&EVERGREEN FOP
Dispatched Offense . Verified Offense
€3030 Traffic Arrest Warrant 4899 Obstruct Police (Other)
olc OIC Contact Number
WOJCIECHOWSKI, MICHAEL (SOWOJCIECHOWSKIM-
05276)
County City/Twp/Village
63 - Oakland 91 - Southfield
Division ,
{Patrol

eo “Action Requested:

{ ] Arrest warrant
[ ] Search warrant

{ ] Juvenile petition

[ ] Review only
[ ] Forfeiture
[ ] Other

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CR No: 190040970

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DRG ECF No. 16, PagelD.63

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IBR Code / IBR Group
90Z - All Other Offenses / B

io ae ee rey We) 26) <3 ePreya)

Offenses:

Offense File Class

48000 - OBSTRUCTING POLICE

Crime Against Location Type Offense Completed
13 - lahway/Road/Alley/Sidewalk Completed
Domestic Violence Hate/Bias
No {00 - None (No Bias)
Using . Cargo Theft
A-Alcohol: No_C-Computer Equipment: No D-Drugs/Narcotics: No
ipa Sn eee Dg ra i ee People:
GRAYSON, JAVAAR TYRONE (A “ARRESTEE) [SOFOXS (12297)] . .
Last Name First Name ~ Middie Name Suffix Mr/Mrs/Ms
GRAYSON JAVAAR TYRONE : :
Aliases Driver License# DL State DL Country [Personal iD#
Mi
DOB (Age) Sex Race Birth City & State | Birth Country Country of Citizenship ~
11/07/1973 (45) M BLACK/AFR | Unknown XX MQ US
ICAN
AMERICAN
Eye Color Hair Color Hair Style Hair Length Facial Hair
Brown Black
Complexion Build . Teeth Height Weight Attire
Dark Medium 5' 11" 180
Held For Finger Prints Photos Miranda Read Miranda Waived | Number of Warrants FBI#
No Yes No No
Street Address co / Apt# County Country Home Phone Work Phone
17690 ANNCHESTER RD 13134046873
City State Zip Cell Phone Email
DETROIT MI 48219 UNKNOWN
Alerts . On- Probation/Parole Habitual Offender Status
No
Arrest Information
Offenses Details”
Arest Date/Time: *. nes
4899 - Obstruct Police (Other) oe rovaaoee as
reste: i ey ge ee ee
‘Arrest Type: Onview
OW ArestBAG: SITE mart o
Offense Type: "Mi. oe.
Count: ee PE en ‘
Arresting Officer 1: oo SOFOXS (FOX, SWADE 12297)
Arresting Offic icer 20: at SOMOORED (MOORE,DAVID 11837}
MultiClearance MultiClearance Offense - Armed With .
N - Not Applicable 01 - Unarmed
Date/Time Booked Booked Location
40/10/2019 00:00 SOUTHFIELD POLICE DEPT
FATEEN, ASSIYAH {O-OTHER) (X-MISCELLANEOUS) [SOFOXS (12297)] - -
PE: W.Type: | Last Name First Name Middle Name Suffix Mt/Mrs/Ms
| |FATEEN ASSIYAH
Aliases Driver License# DL State © DL Country |Personal ID#
MI
DOB (Age), Sex Race ity & State | Birth Country Country of Citizenship
F BLACK/AFR
ICAN

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_. GR No: 190040970

UM A.OU LCRA

AMERICAN
Complexion Build Teeth Height Weight Attire
5' 4" 171
Street Address Apt # County Country Home Phone Work Phone
UNKNOWN
ity State Zip Cell Phone Email

(O-OTHER) (X-MISCELLANEOUS) [SOFOXS (12297)]

PE: W.Type: Last Name First Name Middle Name Suffix Mr/Mrs/Ms
Grayson Ameer
DOB (Age) Sex Race Ethnicity Birth City & State | Birth Country Country of Citizenship
M BLACK/AFR
ICAN
') Street Address - County Country Home Phone Work Phone
UNKNOWN
Zip Cell Phone Email

2599 - identification Documents (passports, visas, driver's licenses, Social security cards, etc) 5465
Property Class IBR Type UCR Type

65 - 65 - Identity Documents K - Miscellaneous

Status Count Value
E - Evidence (Including Other Seized Property And Tools) : 1 1
Description Disposition Evidence Tag
False ID (sovereign Citizen)

Recovered Date/Time Location Owner

[AXXXXXXXX] GRAYSON, JAVAAR TYRONE

3513 - Motorcycle (not Stolen

Property Class - IBR Type - U ype =

24 , 24 - Other Motor Vehicles V - Other Vehicle (not Stolen or
Recovered)

Status . Count Value

X - Impounded : 1 1

Manufacturer Model Serial No. : License No. Color

DODGE MAGNUM 2D4FV48V45H 113023 DSQ5802

Vehicle Year Body Style State / License Year

2005 MI

Description Disposition Evidence Tag

Gray Dodge Magnum

Recovered Date/Time Location - Owner

[AXXXXXXXX] GRAYSON, JAVAAR TYRONE

Narrative: .

CR No: 190040970-001 Written By: SOFOXS (12297) Date: 10/10/2019 06:05 PM.

On above listed date and time, Officer Moore and |, Officer Fox, were traveling SB Evergreen in

nape ts

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CR No: 190040970

UI TUTE ATTA A A

a semi marked squad car (#33). Once we approached SB Evergreen & 8 Mile Rd, We observed

a Gray Dodge Magnum MI License Plate (#DSQSE02)with tinted windows, sitting at pump #10 at
the marathon gas station.

Officers verified with South eld dispatch the License plate number which came back as a felony
vehicle for Flee and Elude out of our city on 9/29/2019 (19- $9271) per LEIN.

The vehicle exited the parking lot in an unknown direction, Officer Moore and | checked the
immediate area for the vehicle. Officers located the vehicle EB 8 Mile at Annchester. The vehicle
slowed and continued to drive SB towards Hessell, then The vehicle made a right turn and
traveled. WB on Hessell. At this time, we activated our overhead emergency red and blue lights,

: initiating a traffic stop before the vehicle came to a complete stop just East of Evergreen.

Once Officers approached the vehicle, we ordered the driver Javaar Grayson out of the vehicle
with both of his hands on the back of his head. Grayson exited the vehicle without incident. He

was advised his vehicle came back as a felony vehicle for flee & elude out of Southfield on
9/29/2019.

Officers asked Grayson for his identification, which he then stated his name was Grayson Bey
and that he was 46 years old. Grayson failed to provided a Michigan divers license or State
issued ID, claiming he was a sovereign citizen and Grayson Bey was the name he chose.
Grayson did provide a false ID that stated "Grayson Bay" is a free traveler.

After searching LEIN for the name and age given with no response Grayson was placed under
arrest (HC/TC/DL) for misrepresentation.

Upon arrest his person was searched.tevealing a Michigan drivers license Gn
with the name Javaar Grayson.

Grayson's son (Ameer Grayson) was in the backseat of the vehicle and upon contact, he was
placed with Officer Gorecki until his mother (Assiyah Fateen) was able to make the scene to take
custody.

Disposition:

Grayson was transported to the Southfield jail where he was TOT jail staff without incident.

The arrest was reviewed by LT. Leon and bond was set at $250.

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ee,

~ CR No: 190040970

CEMENT A

Vehicle was impounded by Officer Fair and removed from LEIN by 914.

The false ID was placed into evidence.

10/11/19

Ticket issued : 248903 for false ID to a PO
Bond: 500 Personal ,
Magistrate McEvans

Court: 10/16/2019 @ 8:30am

CR No: 190040970-002 Written By: SOWOJCIECHOWSKIM (05276) _Date: 10/11/2019 02:28 PM-

CR No: 190040970-003 Written By: SOPULLEND (12183) ATTACHMENT ONLY REPORT - No Narrative

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_ Attachments: oe

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Case number: 2:19-CU-13588

Grayson-Bey
Vs
Officer Fox
Office Moore
Southfield Police Department

Michael Wojciechowski

i the plaintiff Grayson-Bey am suing Officer Fox, Officer Moore, Southfield Police
Department and Michael Wojciechowski for the following damages:

| the plaintiff Grayson-Bey am suing for being denied my birth right as a Moorish American
(Moabite)

| the plaintiff Grayson-Bey am suing for being denied my Constitutional Right of the Fourth
Amendment rights (The Treaty of Peace and Friendship July 15" ,1786).

| the plaintiff Grayson-Bey am suing for the emotional trauma incurred to myself and my son,
due to and as well as the kidnapping and false imprisonment.

| the plaintiff Grayson-Bey for the financial destitution that was incurred from the false
imprisonment which caused my wife to lose her job.

And finally | plaintiff Grayson-Bey am suing for my Free Right to Travel upon the public highway
and to transport ones property thereon, either by carriage or automobile is not a mere privilege
which a city may prohibit or permit at will but a common right, which he/she has under the law.

Plaintiff Grayson-Bey

H asp “Pay

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| would like to state that all witnesses pertaining to the case number: 2:19-CU-13588

Grayson-Bey
Vs
Officer Fox
Office Moore
Southfield Police Department
Michael Wojciechowski

Have been listed, and all documents and evidence pertaining to the case 2:19-CU-13588 is
located in a binder at home.

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ISQ92 Wustbenk

Ovfeotl, MIF

AIT, 2214

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